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                                                 2


 1               [BACKGROUND NOISE / CONVERSATION]

 2               WILLIAM “RICK” SINGER:          ...the inner

 3   cities.

 4               RUDY MEREDITH:     Mm hmm.

 5               WILLIAM “RICK” SINGER:          Right now,

 6   those African American kids don't play volleyball

 7   (indiscernible) the inner cities.

 8               RUDY MEREDITH:     Sit there, sit there.

 9               WILLIAM “RICK” SINGER:          We're doing the

10   same thing with soccer.

11               RUDY MEREDITH:     Mm hmm.

12               WILLIAM “RICK” SINGER:          So, do you know

13   Phil Wright?

14               RUDY MEREDITH:     Phil Wright from Nike?

15               WILLIAM “RICK” SINGER:          No, Phil Wright

16   is President of US Club Soccer.

17               RUDY MEREDITH:     Oh, okay, yeah, yeah,

18   yeah.

19               WILLIAM “RICK” SINGER:          He coached at

20   Stanford.

21               RUDY MEREDITH:     Yeah, yeah.

22               WILLIAM “RICK” SINGER:          So, what's

23   happening in, you know, in Oakland, I bought this

24   facility --

25               RUDY MEREDITH:     Mm hmm.

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                                                  3


 1                WILLIAM “RICK” SINGER:          -- called

 2   Soldier Town, we just changed the name.

 3                RUDY MEREDITH:     Mm hmm.

 4                WILLIAM “RICK” SINGER:          So, it's a gym,

 5   four courts, and then I just bought the Warriors'

 6   facility.    So, the Warriors are moving to San

 7   Francisco.

 8                RUDY MEREDITH:     Okay.

 9                WILLIAM “RICK” SINGER:          So, we're going

10   to get their practice facility, which attached to

11   the Marriott, which is great.           Then we made a

12   deal with the city.    Then we're going to get all

13   31 parks.    So, now, I'm going to run all the

14   activities in all 31 parks.

15                RUDY MEREDITH:     Okay.

16                WILLIAM “RICK” SINGER:          So, what I'm

17   going to do -- and then I met with Marshawn Lynch

18   two days ago --

19                RUDY MEREDITH:     Yeah, he told me that,

20   yeah.

21                WILLIAM “RICK” SINGER:          So, we're going

22   to a create a sports academy for inner city.

23                RUDY MEREDITH:     So, how you going to

24   have time to do this and then do all the other

25   stuff, stuff with colleges and stuff --

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                                               4


 1             [OVERLAPPING SPEAKERS]

 2             RUDY MEREDITH:     But how?         It's

 3   impossible.

 4             WILLIAM “RICK” SINGER:          It's not

 5   impossible.   I have people who work for me

 6   everywhere.

 7             RUDY MEREDITH:     But, look at you.         You

 8   stay in great shape.    I still got -- I still got

 9   a little flab there.    You've got some shape.

10             WILLIAM “RICK” SINGER:          I get off the

11   plane, and where did I go?

12             RUDY MEREDITH:     You went to the gym,

13   all right so --

14             WILLIAM “RICK” SINGER:          Right, I went

15   to the gym and I went to the pool.

16             RUDY MEREDITH:     How was your swim,

17   Michael Phelps?

18             WILLIAM “RICK” SINGER:          It was fucking

19   great except for the BU swimmers, baby, they're

20   taking up too many of the lanes.

21             RUDY MEREDITH:     Okay.      All right.

22             WILLIAM “RICK” SINGER:          But it was

23   good.

24             RUDY MEREDITH:     Okay.

25             WILLIAM “RICK” SINGER:          But that's how

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                                                  5


 1   you do it.    You just got to stay in shape.

 2                RUDY MEREDITH:     I don't know how you do

 3   it, man.   So you -- alrighty, so you gotta -- I'm

 4   going to let you lead this after -- I'm -- like I

 5   said, I'm -- I

 6                WILLIAM “RICK” SINGER:          So, what have

 7   you told them?

 8                RUDY MEREDITH:     I haven't told them a

 9   lot -- I just -- 'cause they actually contacted

10   me 'cause I was like, I know a coach at Harvard

11   and they know this person at Tufts, and so they

12   contacted me.    So, I was like, oh, okay.                I said,

13   this is, like over my pay grade.             I said let me

14   just meet, and they wanted to meet.                  And I was

15   like... so, I don't really know them that well,

16   but I was like, okay, I'll meet (indiscernible)

17   I'll come here just to make sure that --

18                WILLIAM “RICK” SINGER:          Okay.

19                RUDY MEREDITH:     -- make them --

20                WILLIAM “RICK” SINGER:          I appreciate

21   that.

22                RUDY MEREDITH:     That's what -- you

23   know, so, I, I wasn't going to come, but I was

24   like ah, let me just come to be on the safe side.

25                WILLIAM “RICK” SINGER:          Okay.

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                                                 6


 1               RUDY MEREDITH:     'Cause I know, so I --

 2   just, like I said, I mean, I, I don't do this.            I

 3   know, you know, you just work with me directly

 4   and stuff so I... I don't know, so you can...

 5   whatever.   Whatever happens, you deal with it.

 6   You know, you can talk to me about, you know,

 7   what you want to give me if... I understand,

 8   because you been taking care of me, so I'm not --

 9               WILLIAM “RICK” SINGER:          I'll always

10   take care of you.    That's the way we do business.

11               RUDY MEREDITH:     Yeah, but how... but...

12   all right... so if... listen, man, you crack me

13   up, man, 'cause, since I met you, I'm like, how

14   you doing this, man?    When it's like, you giving

15   me this much money, and then you taking this.

16   I'm like -- you gotta be like, I don't know,

17   just... I don't know how you do it, dude.           You

18   just --

19               [OVERLAPPING SPEAKERS]

20               RUDY MEREDITH:       -- great because it's

21   unbelievable to me how you could do this.           Like,

22   and you just -- like nothing like rolls off you,

23   you just keep going and going and going,

24   Energizer bunny.

25               WILLIAM “RICK” SINGER:          It's no big

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 1   deal.   I mean like, I mean, the whole... so, Nike

 2   is becoming a big deal now.

 3              RUDY MEREDITH:     Okay.

 4              WILLIAM “RICK” SINGER:          This is a

 5   fricking big deal.    So, Carleton DeBose runs

 6   grassroots basketball efforts for Nike.

 7              RUDY MEREDITH:     Okay.

 8              WILLIAM “RICK” SINGER:          So, he was an

 9   inner-city Chicago kid and now he's, you know,

10   he's in his 40s.    He's running it for Nike.          So,

11   they have this thing called EYBL, which is the

12   highest level of basketball in the country.

13              RUDY MEREDITH:     Yeah.

14              WILLIAM “RICK” SINGER:          And they only

15   play against each other every other week.

16              RUDY MEREDITH:     Right.

17              WILLIAM “RICK” SINGER:          So, they fly on

18   Thursday night, red eye, all the teams, go to one

19   site and play each other.       And then on Sunday

20   afternoon at noon    they all go home to their

21   places every two weeks.      So, Nike is really,

22   really involved in this issue because Adidas has

23   a thing, Under Armor has a thing, but everybody

24   wants to play for Nike.

25              RUDY MEREDITH:     Right.

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 1              WILLIAM “RICK” SINGER:          So, Nike... so,

 2   actually, Carlton came to our facility yesterday.

 3   And he called me and he said this is fucking

 4   unbelievable, what you've done.          And what I'm

 5   trying to do is, I'm going to create 32 new

 6   schools.   And I'm going to create 32 sports

 7   academies in the inner cities all over the

 8   country.

 9              RUDY MEREDITH:     Right.

10              WILLIAM “RICK” SINGER:          But I'm going

11   to attach them to the community college next

12   door, so that you can do dual enrollment.

13              RUDY MEREDITH:     Okay.

14              WILLIAM “RICK” SINGER:          Right, like in

15   Washington, the state of Washington, you know,

16   everybody does running start, which means they

17   all walk out of high school with 30 units of

18   college work.   So, only, they have to go to

19   college for three years.

20              RUDY MEREDITH:     Why don't you just do

21   that?   You know, do the other, college stuff...?

22              WILLIAM “RICK” SINGER:          No, the college

23   stuff allows me to...     So, because we work in

24   everybody's home...

25              RUDY MEREDITH:     Okay.

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                                                  9


 1                WILLIAM “RICK” SINGER:          So, our whole

 2   business is in everybody's house.              So, by being

 3   in everybody's home, you create amazing

 4   relationships with these families because the

 5   wealthiest families in the world are my families.

 6                RUDY MEREDITH:     Okay.

 7                WILLIAM “RICK” SINGER:          They're

 8   trusting you to come in their home.                  They're

 9   trusting you to take care of their kid.                  And then

10   what do they do after that?          They trust you to

11   help them with their business.            They give you

12   their client, their people that work in their own

13   companies and they make this accessible to

14   everybody.    But if we weren't in the home, it

15   would be totally different, because when you go

16   to an office, everybody only tells you what they

17   need to tell you.

18                RUDY MEREDITH:     Right.       So, but then --

19   so, that kid that, that family gives you

20   $400,000, whatever, to do something, they're

21   doing something else with you or are you helping

22   them some other way?

23                WILLIAM “RICK” SINGER:          They'll ask me

24   to... like, for example -- this is an extreme,

25   extreme, extreme case.     The Gateses or the

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 1   Jobses, I work with their families.             And then,

 2   when I'm done, I'll say to Bill or Bill will say

 3   to me, hey, you know what?       I think this would be

 4   great if you would give this to all your highest-

 5   level management.    Make it a benefit for

 6   everybody.    And then they go to their HR team and

 7   say, we're going to make this a benefit.             Now,

 8   all of a sudden, I go from having the Gateses to

 9   now I have 50 of their top executives.

10                RUDY MEREDITH:   Right.

11                WILLIAM “RICK” SINGER:       And then, what

12   happens is, because you create a relationship,

13   and we're doing so many things, guys will say to

14   you, "Hey, listen, you know, we're a publicly-

15   traded company.    I can't talk to anybody, 'cause

16   it's against the law.     So, would you be my muse?

17   Would you coach me?"

18                RUDY MEREDITH:   Okay.

19                WILLIAM “RICK” SINGER:       Because they

20   want to share.    They want to have ideas.           They

21   want to connect points, but they can't because,

22   you know, they say anything about what's going on

23   in their companies, it's illegal.

24                RUDY MEREDITH:   Oh, Okay.         All right, I

25   got you.

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                                                11


 1              WILLIAM “RICK” SINGER:         Totally

 2   illegal.   So, and then the other part is, you

 3   don't want to tell your COO, because the board

 4   can make your COO the president at any time.

 5              RUDY MEREDITH:     Right.

 6              WILLIAM “RICK” SINGER:         So, they have

 7   to be really careful in how, and what they

 8   communicate to their other people.           Or, if

 9   they're unsure of themselves, or insure of --

10   they need somebody to bounce things off of.

11              RUDY MEREDITH:     Okay.

12              WILLIAM “RICK” SINGER:         So, it opens up

13   a whole 'nother door for them.

14              RUDY MEREDITH:     Then how's it -- the

15   college stuff coming and help them getting in the

16   college, how's that -- like...?

17              WILLIAM “RICK” SINGER:         That's how we

18   start, that's how we get in the door.

19              RUDY MEREDITH:     Oh, that's how you get

20   in the door.   Oh, so you help this kid get into

21   college, you help this family, they pay you, but

22   then that opens the door for --

23              WILLIAM “RICK” SINGER:         Everything

24   else.

25              RUDY MEREDITH:     -- all the other

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 1   things.

 2              WILLIAM “RICK” SINGER:         Because I just

 3   spent two, three, four years at your home, every

 4   week, every fourth week.      And now, I know

 5   everything about you, you know everything about

 6   me.   Because, remember, I'm in your home.         I know

 7   everything.

 8              RUDY MEREDITH:     So, family is willing

 9   to pay this much, like $400-, $500,000 for this?

10              WILLIAM “RICK” SINGER:         For certain

11   schools.   But other schools they just pay us

12   $8,000 a year, and we help them.          We do all the

13   SAT prep, we do applications with them, do... and

14   they just pay us 8,000.      If I were... I could

15   charge $20,000 a family.

16              RUDY MEREDITH:     Right.

17              WILLIAM “RICK” SINGER:         We don't.

18   We're fine.   We're doing just fine, right?           And

19   there's a group of families that want to ensure

20   that their kids get in.      So, for --

21              RUDY MEREDITH:     So, you tell me there's

22   a family out there that say, oh, I want to get my

23   daughter into Tufts or Harvard --

24              WILLIAM “RICK” SINGER:         Absolutely.

25              RUDY MEREDITH:     And they're willing to

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 1   pay --

 2                WILLIAM “RICK” SINGER:       Yeah.

 3                RUDY MEREDITH:   Whatever, $500-,

 4   $600,000?

 5                WILLIAM “RICK” SINGER:       So, I'm going

 6   to tell them, I'd say, so, here's the catch:            I

 7   teach you how to get in.

 8                RUDY MEREDITH:   Mm hmm.

 9                WILLIAM “RICK” SINGER:       We can go in

10   the front door.    You can go in the back door.          Or

11   I'll take you through the side door.

12                RUDY MEREDITH:   Mm hmm.

13                WILLIAM “RICK” SINGER:       So, the front

14   door means you get in on your own.           The back

15   door, for example, at your school, costs 40

16   million.

17                RUDY MEREDITH:   Forth million?       What do

18   you mean, 40 million?

19                WILLIAM “RICK” SINGER:       If I want to go

20   to Yale --

21                RUDY MEREDITH:   Uh huh.

22                WILLIAM “RICK” SINGER:       -- and I want

23   to go through institutional advancement with a

24   guarantee, they're asking for 40 million.

25                RUDY MEREDITH:   Forty million?

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 1              WILLIAM “RICK” SINGER:         At your school.

 2              RUDY MEREDITH:     That doesn't make any

 3   sense to me.

 4              WILLIAM “RICK” SINGER:         Sure it does.

 5   Your development people, the special gifts, the

 6   gifts people, that's what they're asking for.

 7              RUDY MEREDITH:     Well, usually, it's

 8   things like a special project or something.

 9   You're just saying, just in generally speaking --

10              WILLIAM “RICK” SINGER:         TO guarantee

11   your kid in, that's the number they're asking

12   for.

13              RUDY MEREDITH:     Forty million?          So,

14   you're telling me then... so, if you -- if I got

15   your kid in, and you gave me 400, are they giving

16   you a thousand?    I mean a million??

17              WILLIAM “RICK” SINGER:         No.      I'm not

18   taking a dime of that money.

19              RUDY MEREDITH:     So, you're going

20   through -- will they be helping you other ways?

21              WILLIAM “RICK” SINGER:         Lots of other

22   ways, right.   Because when I do that for them,

23   the door opens for everything.         I can call them

24   at any time and just say, "Listen, I need access

25   to this guy," or "Can you make a phone call here?

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 1   Can you do that?"    Like, I have a family right

 2   now, he is a water guy.      So, they're an Italian

 3   family, live in LA but they're from Italy, and he

 4   has created a water treatment to save cities 25

 5   million every two years.      It's huge for a city,

 6   right.   So, I said to Devin, I said -- now I've

 7   got his kid in USC and he shouldn't have got into

 8   USC; he got in.    And I said to Devin, "Okay,

 9   here's what I need you to do.         I need to play

10   both sides of the street.       But I want you to

11   know, and I'm telling you up front I'm playing

12   both sides of the street."       So, I am going to

13   save the city of Oakland, I'm going to save the

14   city of Chicago, $25 million over two years, and

15   I'm going to tell the mayor, this is how we're

16   going to do it:    I'm going to bring your team in,

17   and then I have told the mayor, I need to get one

18   sixth of that $25 million savings, has to be

19   given to my foundation to fund the inner city

20   projects were doing.     Okay?     Devin, because I'm

21   going to bring you in, I need one fourth of the

22   profit to be given to me from our company, to my

23   foundation, so I can do inner city stuff.

24              RUDY MEREDITH:     Okay.

25              WILLIAM “RICK” SINGER:         So, but I

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 1   couldn't say that to them, or couldn't get to

 2   that guy, if it wasn't that I worked in his house

 3   for three years.

 4              RUDY MEREDITH:     Okay.

 5              WILLIAM “RICK” SINGER:         So, what I do

 6   is, I go into people's homes and I start figuring

 7   out, how can they help me?

 8              RUDY MEREDITH:     Okay.

 9              WILLIAM “RICK” SINGER:         Like we started

10   a jobs company.    So, I can get -- I have 100 jobs

11   a year that I could get in the entertainment

12   industry --NBC, CBS, Netflix, Amazon -- I can get

13   kids, or people, jobs, because I have all the

14   CEOs.

15              RUDY MEREDITH:     Does anybody ever

16   question any of this, anything?          Okay.     You know

17   what you're doing man, you're the man.

18              WILLIAM “RICK” SINGER:         I've been doing

19   this a long time.

20              RUDY MEREDITH:     Oh, you're the man,

21   you're -- listen, you the man, you the man.             You

22   the man.

23              WILLIAM “RICK” SINGER:         And you know

24   what, it all just attaches to each other.

25              RUDY MEREDITH:     Okay.

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 1              WILLIAM “RICK” SINGER:         So, when

 2   there's another opportunity comes up, now I help

 3   that family, that family opens up another door.

 4   Like, for example, the family that -- the

 5   Rosenblooms, they own the Rams, right?

 6              RUDY MEREDITH:     Mm hmm.

 7              WILLIAM “RICK” SINGER:         I had all three

 8   of their kids.    Chip says to me, "We're getting

 9   ready to sell the team to Stan Kroenke...," who

10   at that time only owned 20 percent; the family

11   owned 80 percent.    So, they flipped it 80-20.

12   So, Chip said to me, "Do you want in this deal?"

13   Now, I would never be able to get in this deal.

14   He said, "This is how much you want, and you can

15   get one to two percent on this deal if you put up

16   this money."    Well, I have access, with no terms

17   -- I'm in on their deal, right.

18              We bought an English premier team,

19   right, Swansea City.     They got relegated.         I told

20   these fuckers what to do, they don't want to

21   listen to me.    So, and the same thing, we got the

22   Kings.   So, we're doing all these things.           I

23   would not be in any of these deals if it wasn't

24   that I was in everybody's home.

25              Like, we own -- I own three percent of

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 1   Tesla.   When I got in with Tesla, I paid 39 cents

 2   on the dollar.    I was one of the first guys in.

 3   It's worth $274 per share.

 4              RUDY MEREDITH:     Okay.

 5              WILLIAM “RICK” SINGER:         All right.

 6              RUDY MEREDITH:     So, you can retire,

 7   man.

 8              WILLIAM “RICK” SINGER:         I've been

 9   retired twice.    What am I going to do, stay home?

10              RUDY MEREDITH:     No.

11              WILLIAM “RICK” SINGER:         You can only

12   work out so much.

13              RUDY MEREDITH:     True, true.          That's

14   true, that's true.     You got to stay active.

15              WILLIAM “RICK” SINGER:         And this is my

16   last my hurrah.

17              RUDY MEREDITH:     Okay.

18              WILLIAM “RICK” SINGER:         So, we're --

19   started seven new projects and I'm going to go

20   through them all, and if some work out -- I've

21   already had to cut two of them, because I knew

22   they wouldn't make it -- I cut two CEOs and let

23   them go and... see what happens.

24              RUDY MEREDITH:     Okay.

25              WILLIAM “RICK” SINGER:         Just trying.

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 1                RUDY MEREDITH:     So, what do you got

 2   going on this year for schools, right now?

 3                WILLIAM “RICK” SINGER:         What do you

 4   mean?    Oh, I've done over 700 of these.

 5                RUDY MEREDITH:     But over time, not

 6   right now?

 7                WILLIAM “RICK” SINGER:         Oh yeah, this

 8   year.

 9                RUDY MEREDITH:     Seven hundred -- right

10   -- I thought you meant over a period of time.

11                WILLIAM “RICK” SINGER:         Right now.

12                RUDY MEREDITH:     Right now, this point -

13   -

14                WILLIAM “RICK” SINGER:         Yeah.

15                RUDY MEREDITH:     -- 700 going on right

16   now?

17                WILLIAM “RICK” SINGER:         I got 28 of

18   them at USC.     I got almost -- probably be 20 by

19   the time we're done -- at Berkeley; 14 in UCLA --

20   I got them everywhere.       I got six at Stanford.

21   We got Harvard, where this guy's coming from, we

22   got five already.

23                RUDY MEREDITH:     You already have five

24   at Harvard?

25                WILLIAM “RICK” SINGER:         For this year.

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                                                20


 1                RUDY MEREDITH:    I can't keep track.        I

 2   can't remember kids' names on my team and you...

 3                WILLIAM “RICK” SINGER:       Well, sometimes

 4   that's an issue.    So, sometimes people will say

 5   to me, "Did you have...," blah, blah, blah, and

 6   I'll be like, "God, that name sounds fucking

 7   familiar."    Or I get a phone call and I'm like

 8   is... that number, but I don't have the name on

 9   it, and I'm like...     So, that happens to me.

10                RUDY MEREDITH:    That happens to me all

11   the time.

12                WILLIAM “RICK” SINGER:       I have so many

13   frigging --

14                RUDY MEREDITH:    Can't keep track of all

15   this stuff.

16                WILLIAM “RICK” SINGER:       Yeah, so like,

17   there's this guy, here, called me at the top

18   here, his name is Garry Reeves; African American

19   guy, who has a TV show called Give.             So, it's all

20   about giving back, right?       So, Blair Underwood is

21   the host.    So, Blair, he's calling me that Blair

22   needs to meet with me, and Warren Moon, and they

23   all want to be -- and I'm like, what you guys

24   want is you want money.       Like here, Tennessee

25   (indiscernible), I've had all three of their kids

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                                                21


 1   -- I can't remember their frigging name.

 2   [LAUGHTER]    I can't remember names...

 3                RUDY MEREDITH:   Right.      That happens.

 4   That's why I'm saying, how you keep track of all

 5   this and knowing all this and I just think it's

 6   hard.   I don't know how... I just... You have any

 7   other Ivy League schools?

 8                WILLIAM “RICK” SINGER:       Oh yeah.         I

 9   want more, because what happens is, every year we

10   got more and more kids that want to come, and so

11   there's only so many spots, right?

12                RUDY MEREDITH:   Right.

13                WILLIAM “RICK” SINGER:       So, I'll take

14   anyplace that's strong academically.               Like,

15   where's your relationships at?

16                RUDY MEREDITH:   Well, I mean, could be

17   at Harvard, (indiscernible) could be at Tufts.

18   Like I said, I don't know him that well.               I know

19   some coaches, but they contacted me so I --

20                WILLIAM “RICK” SINGER:       So, how did

21   that happen?

22                RUDY MEREDITH:   So, how it happened was

23   -- because remember we talked about, you said

24   Tufts --

25                WILLIAM “RICK” SINGER:       Yeah, yeah.

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                                                22


 1                RUDY MEREDITH:    -- and Harvard, before,

 2   remember you said that?       So, then I was like,

 3   trying to like talking with coach at Harvard,

 4   that I know.    And he's like, "Well, you know

 5   what?   I think this rugby person might be of

 6   value, and he said that they might know somebody

 7   at Tufts."    And I said, "Okay.       So, let them know

 8   to contact me if they interested."           And they

 9   said, "Okay."    And then they called me.

10                WILLIAM “RICK” SINGER:       Okay.

11                RUDY MEREDITH:    Like out of the blue,

12   like out of the blue, call me say, "Listen, we

13   got to come up here.     We got to do this."

14   Because I guess they want to do something for

15   this year, maybe, I don't know.          I have no idea,

16   dude, so, I'm just --

17                WILLIAM “RICK” SINGER:       I bet it.

18   Well, it's kind of like -- here, the sailing

19   coach at Stanford, I'm in his office and I said,

20   "John, who else could I talk to here?"             He says,

21   "Right across the hall, women's lacrosse.             They

22   need help."    So, he calls her in here and I

23   explained the deal, and she's like, "I'll do that

24   every year."

25                RUDY MEREDITH:    Okay.

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                                                23


 1               WILLIAM “RICK” SINGER:        All you got to

 2   do... I don't have a choice.

 3               RUDY MEREDITH:    So, like I said, I

 4   don't know -- that's why I said, that's why I'm

 5   coming with you, because I had no idea.            I just

 6   know the soccer people --

 7               WILLIAM “RICK” SINGER:        No, no, this is

 8   great.

 9               RUDY MEREDITH:    -- I don't know them --

10               WILLIAM “RICK” SINGER:        And do the

11   soccer people not need help?

12               RUDY MEREDITH:    Probably soccer people

13   do too, but this person said that they, and

14   admissions and alumni, development and alumni.

15   So, they're like... I was like, okay, well this

16   person --

17               WILLIAM “RICK” SINGER:        See, the

18   problem is that I don't know if those guys, they

19   don't have spots.

20               RUDY MEREDITH:    Yeah, but development

21   does.

22               WILLIAM “RICK” SINGER:        The do, in a

23   way.

24               RUDY MEREDITH:    Yeah.      But see, but it

25   sounded like they could help.

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                                                24


 1              WILLIAM “RICK” SINGER:         Really?

 2              RUDY MEREDITH:     They came to me.         So,

 3   they must think something -- well, again, we'll

 4   find out --

 5              WILLIAM “RICK” SINGER:         Yeah.

 6              RUDY MEREDITH:     -- 'cause they

 7   contacted me.    So, I didn't contact them, they

 8   contacted me.

 9              WILLIAM “RICK” SINGER:         Like Tommy

10   Hamburger, he gave me a spot.

11              RUDY MEREDITH:     Right.

12              WILLIAM “RICK” SINGER:         Right.     I gave

13   him a player.

14              RUDY MEREDITH:     Mm hmm.

15              WILLIAM “RICK” SINGER:         So, that's the

16   thing.   I don't know -- I never, ever, have been

17   able to get a spot for development.             It's always

18   had to come out of athletics, never --

19              RUDY MEREDITH:     But it's development

20   and alumni, so it might be situation where --

21   that can be able to -- or it could be from the

22   athletic department too.      I don't know.

23              WILLIAM “RICK” SINGER:         Sometimes the

24   development guy is working with athletics, and

25   they know they need to raise money.

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                                                25


 1              RUDY MEREDITH:     That's what I --

 2              WILLIAM “RICK” SINGER:         They're having

 3   a hell of a time getting money.

 4              RUDY MEREDITH:     That's what I think,

 5   because they came to me.      So, I didn't contact

 6   them, they contacted me.

 7              WILLIAM “RICK” SINGER:         No, it makes

 8   sense.   That makes sense.

 9              RUDY MEREDITH:     So, we'll see.

10              WILLIAM “RICK” SINGER:         So, did you

11   find me my soccer girl yet?

12              RUDY MEREDITH:     How old are you, man?

13              WILLIAM “RICK” SINGER:         Huh?

14              RUDY MEREDITH:     How old are you??

15              WILLIAM “RICK” SINGER:         I'm, I'll be...

16   actually, I was 58 two days ago.

17              RUDY MEREDITH:     Fifty-eight two days

18   ago?

19              WILLIAM “RICK” SINGER:         But I'm like

20   40.

21              RUDY MEREDITH:     Listen, to this is what

22   we're going to do, dude.

23              WILLIAM “RICK” SINGER:         I just... I

24   dated... I went out with a gal last night, before

25   I came here, she's 40.     She was a cheerleader at

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 1   UCLA.    But she's just... she's in amazing shape,

 2   but she's way, way too skinny.         I mean, she's

 3   like a bone, and she just adopted a child --

 4               RUDY MEREDITH:    Right.

 5               WILLIAM “RICK” SINGER:        -- who's five.

 6   She wants to have another child.          And I'm not

 7   ready to have another child.

 8               RUDY MEREDITH:    Right, right.

 9               WILLIAM “RICK” SINGER:        And my son's in

10   college, he's in graduate school.           Like, I'm not

11   ready to have... I don't mind having kids, but I

12   don't want to have baby kids.

13               RUDY MEREDITH:    Right, exactly.

14   Exactly.    Well, say, when I go to this Indian

15   Wells kickball tournament, in November --

16               WILLIAM “RICK” SINGER:        I know, we're

17   going to be having pickle ball in Oakland, I'm

18   telling you.

19               RUDY MEREDITH:    I'm coming out there,

20   I'm going to head out there a little bit early, a

21   couple of days early.     I'm going to meet with

22   some of my older alums.

23               WILLIAM “RICK” SINGER:        So, you could

24   stay at my house and come to Newport a day or two

25   early.

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 1               RUDY MEREDITH:     I could do that.

 2               WILLIAM “RICK” SINGER:         You'd rather be

 3   in beach --

 4               RUDY MEREDITH:     Of course.

 5               WILLIAM “RICK” SINGER:         -- than go to

 6   the desert for a couple of days.

 7               RUDY MEREDITH:     I'll do that.        I'll

 8   plan on it.

 9               WILLIAM “RICK” SINGER:         You can stay at

10   my house.

11               RUDY MEREDITH:     All right, I'll plan on

12   that.    How far is that from Indian Wells?

13               WILLIAM “RICK” SINGER:         It's over an

14   hour, hour, because you're in the desert.

15               RUDY MEREDITH:     Yeah.      [ANSWERS PHONE]

16   Hello?    Yeah, I'm cool.     Everything's cool.       Me

17   and him, yeah, we're good, we're talking, we're

18   going to be here.    Okay.     All right, perfect.

19   All right, thanks.     All right, bye-bye.

20               WILLIAM “RICK” SINGER:         You're in the

21   desert.    I'm at the ocean.      I'm on the water.

22               RUDY MEREDITH:     Okay.

23               WILLIAM “RICK” SINGER:         Are you coming

24   with your wife?

25               RUDY MEREDITH:     No, I'll be going

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 1   myself.

 2                WILLIAM “RICK” SINGER:       Okay.    So come,

 3   and you could stay and then -- have you ever

 4   paddle boarded?

 5                RUDY MEREDITH:   No.

 6                WILLIAM “RICK” SINGER:       Do you swim?

 7                RUDY MEREDITH:   Eh?

 8                WILLIAM “RICK” SINGER:       You won't fall

 9   so... it'll be fine.     I'll take you paddle

10   boarding on the bay.

11                RUDY MEREDITH:   Yeah.

12                WILLIAM “RICK” SINGER:       And you can

13   hang out, be by the water and you can invite your

14   girls to my house.

15                RUDY MEREDITH:   Okay.

16                WILLIAM “RICK” SINGER:       Tell them to

17   come for dinner.

18                RUDY MEREDITH:   We have a lot of alums

19   out there.

20                WILLIAM “RICK” SINGER:       I'll bet.

21                RUDY MEREDITH:   A lot of alums out

22   there.

23                WILLIAM “RICK” SINGER:       Who wouldn't

24   want to live there.

25                RUDY MEREDITH:   Yeah, yeah, a lot of

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 1   alums out there.    So...

 2               WILLIAM “RICK” SINGER:         So, how's your

 3   house in Florida?

 4               RUDY MEREDITH:     Not finished yet.

 5               WILLIAM “RICK” SINGER:         So, you're

 6   dealing what I'm dealing.

 7               RUDY MEREDITH:     Yeah, they're not

 8   finished yet.

 9               WILLIAM “RICK” SINGER:         So, how much

10   more do you have to put in?

11               RUDY MEREDITH:     You know, you put a

12   little bit in each time you -- they build

13   something, or they get everything, like finish

14   the electric or whatever, and then you give them

15   more money, you give them this part, you do the

16   painting, you give the more money to do the

17   driveway, give them more money.           So, we're

18   probably getting close to -- they said it's going

19   to be finished in November.         We'll see.

20               WILLIAM “RICK” SINGER:         And how much

21   will you have spent?

22               RUDY MEREDITH:     Probably 380, 390.

23               WILLIAM “RICK” SINGER:         How much was

24   the land?

25               RUDY MEREDITH:     The land was like 100

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 1   maybe, 75 - 75, 100.

 2                WILLIAM “RICK” SINGER:       So, where is

 3   this?

 4                RUDY MEREDITH:   Amelia Island.       It's

 5   right outside of Jacksonville.

 6                WILLIAM “RICK” SINGER:       One of my CEOs

 7   lives there.    She wanted me to buy in

 8   Jacksonville.

 9                RUDY MEREDITH:   This is right outside

10   Jacksonville.

11                WILLIAM “RICK” SINGER:       Why did you

12   guys pick there?

13                RUDY MEREDITH:   My wife picked it out.

14   She wanted a place that wasn't like, you know,

15   that wasn't all like --

16                WILLIAM “RICK” SINGER:       Super

17   expensive.

18                RUDY MEREDITH:   -- super expensive, but

19   wasn't like Orlando, Miami, she was like, we been

20   there too many times, those places; just kind of

21   want to be able to go to relax and just chill

22   and...

23                WILLIAM “RICK” SINGER:       And do you have

24   kids?

25                RUDY MEREDITH:   No, no kids.

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 1               WILLIAM “RICK” SINGER:        How come?

 2   You'd be a great dad.

 3               RUDY MEREDITH:    Well, the problem is,

 4   we were trying to have kids, then we got a little

 5   older, we're like, well, if we have kids now, we

 6   can't make this move to live where we live.           I

 7   mean, we couldn't afford to live where we live if

 8   we had kids.   So, we decided not to have kids and

 9   we just decided... we're going to --

10               WILLIAM “RICK” SINGER:        What are you

11   going to do with the next 400?         Do you have a

12   plan?

13               RUDY MEREDITH:    I don't know.        I don't

14   know.

15               WILLIAM “RICK” SINGER:        You either got

16   to invest it or you got to --

17               RUDY MEREDITH:    That's what I was

18   thinking.   I mean, I was going to talk to you

19   about that once we got --

20               WILLIAM “RICK” SINGER:        You got to make

21   some money on it.

22               RUDY MEREDITH:    Yeah, I got to -- we're

23   going to talk to you about that once we get to

24   that point.

25               WILLIAM “RICK” SINGER:        Definitely got

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                                                32


 1   to make some money on it.

 2              RUDY MEREDITH:     That's what I was

 3   thinking, you know.     But I don't worry about it.

 4   I just, you know, take it one day at a time.

 5              WILLIAM “RICK” SINGER:         How's the AD?

 6              RUDY MEREDITH:     New AD is great.

 7              WILLIAM “RICK” SINGER:         You love her?

 8              RUDY MEREDITH:     Love her, new AD is

 9   great.   She's going to change things around.

10   She's going to be good.      I'm excited.          I'm

11   excited, this new AD, very, very excited --

12   different, completely different than last AD.

13              WILLIAM “RICK” SINGER:         Why is that?

14              RUDY MEREDITH:     She's just a little bit

15   more hands on and she's like, she does all her

16   homework before she kind of talks to you.                In

17   other words, other guy was like -- he would like

18   -- if you get caught off guard, he would really

19   get really pissed off instead of just wait and

20   let me get all the information, and come back to

21   -- he would just kind of react.          She's like, all

22   right, let me ask all these questions first and

23   find out, and then, all right, let's have a

24   meeting about this information.

25              WILLIAM “RICK” SINGER:         Okay.

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 1               RUDY MEREDITH:    You know what I'm

 2   saying?    It's like that's kind of how she is.

 3   And I like that.    Our meetings have been better,

 4   everything's been good.

 5               WILLIAM “RICK” SINGER:        Is her mandate

 6   to beat Harvard, to beat --?

 7               RUDY MEREDITH:    Yes.     Yes, she wants to

 8   win.   She's like, we got more -- we have more

 9   resources at Yale than we do at Colgate, and we

10   still won at Colgate.     So, that's kind of like

11   been her, kind of been her attitude.               So, you

12   know, I'm excited.

13               WILLIAM “RICK” SINGER:        And what sports

14   does she come from?

15               RUDY MEREDITH:    She was a volleyball

16   player.    She coached volleyball too.             So, she was

17   a coach.    I like ADs that were coaches, because

18   they kind of -- they seem to understand what's

19   going on.

20               WILLIAM “RICK” SINGER:        Who's your big

21   -- is basketball your big sport?

22               RUDY MEREDITH:    Probably football,

23   basketball, hockey, and lacrosse now.

24               WILLIAM “RICK” SINGER:        Really?

25               RUDY MEREDITH:    Yeah, because they won

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 1   national championship.

 2              WILLIAM “RICK” SINGER:         Who won

 3   national championship?

 4              RUDY MEREDITH:     Lacrosse, Yale

 5   lacrosse, men's lacrosse last year, won the

 6   national championships.

 7              WILLIAM “RICK” SINGER:         Did they,

 8   really?

 9              RUDY MEREDITH:     Yeah, they won.

10              WILLIAM “RICK” SINGER:         That's

11   unbelievable.

12              RUDY MEREDITH:     Yeah, they won national

13   championship.    So, we have a brand new stadium,

14   everything.   It's just -- they're no joke.           The

15   guys done it great, absolutely a great job there,

16   great job there.

17              WILLIAM “RICK” SINGER:         Have you guys

18   started beach volleyball yet?

19              RUDY MEREDITH:     No.     I know it's

20   popular out in California.

21              WILLIAM “RICK” SINGER:         I just thought

22   it was pre-Title IX.     (indiscernible) Title IX,

23   more girls.

24              RUDY MEREDITH:     We got 38 sports at

25   Yale, 36 sports at Yale.

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 1                WILLIAM “RICK” SINGER:       How many of

 2   them are male?

 3                RUDY MEREDITH:   We got the same equal

 4   number.

 5                WILLIAM “RICK” SINGER:       Really?

 6                RUDY MEREDITH:   Yeah.

 7                WILLIAM “RICK” SINGER:       That's because

 8   you don't have scholarships, right?

 9                RUDY MEREDITH:   Yeah, we have no

10   scholarship.    But we don't have--

11                WILLIAM “RICK” SINGER:       Like... 38?

12   What do you have 38 sports?

13                RUDY MEREDITH:   You know, you got the

14   fencing, you got squash, gymnastics, sailing, you

15   know, all the crews.     Because they put the crews,

16   it's like three -- you got heavyweight,

17   lightweight crew.    You have that.         You have track

18   and field.    You have track and field and cross-

19   country.   So, that's two sports right there.

20                WILLIAM “RICK” SINGER:       She must have a

21   really big budget.

22                RUDY MEREDITH:   Yeah, yeah, yeah.         It's

23   a big budget.    It's a big budget.         It's just

24   trying to keep everything --

25                WILLIAM “RICK” SINGER:       What's the

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 1   stress point for you?

 2               RUDY MEREDITH:    Stress point for me is

 3   probably admissions, probably.         Not, not, not

 4   getting them in, but the number of spots that we

 5   get.   Because we used to have, used to have more.

 6   And then they cut back on that, probably, with

 7   extraneous stuff for us.      But it's doable.           It's

 8   doable.    I got five more years, and then I'll --

 9               WILLIAM “RICK” SINGER:        How is the

10   men's coach?

11               RUDY MEREDITH:    He's getting better.

12   He was assistant coach at Michigan State.               And

13   he's doing better.     He had to learn how to be a

14   head coach, and coach at an Ivy League school at

15   the same time.    And that was a problem the first

16   couple of years, because he was trying to do

17   things like he did at Michigan State.               And you

18   can't do what you do at Michigan State at Yale,

19   you know, and you learn how to be a head coach

20   for the first time.     So, this is the first time

21   you head coach.    Now, for like, for me, I was

22   assistant coach at Yale before I was the head

23   coach.    So, I was the assistant coach at the

24   place.    I ended up being head coach.             So, I knew

25   kind of how things were being run because I was -

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 1   -

 2                WILLIAM “RICK” SINGER:         You're already

 3   there.

 4                RUDY MEREDITH:     I was already there.

 5   So, I think that's -- was my advantage.              I think

 6   he had that two years of trying to figure it out.

 7                WILLIAM “RICK” SINGER:         And is your...

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                                                38


 1                 C E R T I F I C A T I O N

 2

 3   I, Sonya Ledanski Hyde, certify that the

 4   foregoing transcript is a true and accurate

 5   record of the proceedings.

 6

 7

 8

 9   __________________________________

10

11   Veritext Legal Solutions

12   330 Old Country Road

13   Suite 300

14   Mineola, NY 11501

15

16   Date: November 9, 2020

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